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                    U N I T E D S TAT E S D I S T R I C T C O U R T
                  FOR THE WESTERN DISTRICT OF TEXAS
                                AUS TIN D IV IS IO N


 United States of America,

                              Plaintiff,
                                                           Case No. 1:21-cv-00796-RP
 v.

 The State of Texas,

                              Defendant.


                   INTERVENOR-DEFENDANTS’ PRELIMINARY-
                       INJUNCTION HEARING EXHIBITS
       Intervenor-Defendants Erick Graham, Jeff Tuley, and Mistie Sharp (“Intervenors”)

hereby submit the following exhibits Intervenors expect to offer at the preliminary-injunc-

tion hearing to be held on October 1, 2021 (except those to be used for impeachment only).

Intervenors have not been a party to any agreement between the United States and the State

of Texas concerning the presentation of witness testimony or exhibits at the preliminary-

injunction hearing, and Intervenors have not received instructions from the Court regard-

ing disclosure or submission of witness testimony or exhibits prior to or at the hearing. Ac-

cordingly, and without waiving any objections to the declarations and evidence offered by

the United States, Intervenors submit the following exhibits in opposition to the United

States’ motion for preliminary injunction. Copies of the exhibits are attached hereto as Ex-

hibit A.

      Int. Def.
                    Offered     Admitted                     Description of Exhibit
      Exh. No.

                                           Centers for Disease Control and Prevention Abortion Surveil-
          1
                                           lance System FAQs




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  Int. Def.
              Offered   Admitted                     Description of Exhibit
  Exh. No.

                                   Centers for Disease Control and Prevention Abortion Sur-
      2
                                   veillance – United States, 2018

                                   The U.S. Abortion Rate Continues to Drop: Once Again,
      3
                                   State Abortion Restrictions Are Not the Main Driver

                                   New Clarity for the U.S. Abortion Debate: A Steep Drop in
      4
                                   Unintended Pregnancy Is Driving Recent Abortion Declines

                                   Planned Parenthood Center for Choice – About This Health
      5
                                   Center

                                   Planned Parenthood Greater Texas – About This Health Cen-
     6
                                   ter

                                   Texas Health & Human Services Commission Induced Ter-
      7
                                   minations of Pregnancy – Summary of Tables

                                   Texas Health & Human Services Commission, Selected
     8                             Characteristics of Induced Terminations of Pregnancy Cal-
                                   endar Year 2021
                                   Texas Health & Human Services Commission, Selected
     9                             Characteristics of Induced Terminations of Pregnancy Cal-
                                   endar Year 2020
                                   Texas Health & Human Services Commission, Selected Char-
     10                            acteristics of Induced Terminations of Pregnancy Calendar
                                   Year 2019
                                   Texas Health & Human Services Commission, Selected
     11                            Characteristics of Induced Terminations of Pregnancy Cal-
                                   endar Year 2018
                                   Texas Health & Human Services Commission, Selected
     12                            Characteristics of Induced Terminations of Pregnancy Cal-
                                   endar Year 2017

     13                            Abortion Statistics England and Wales 2019



     14                            CV Monique Chireau, M.D.



     15                            Declaration of Monique Chireau, M.D.



     16                            Declaration of Emily Cook




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  Int. Def.
              Offered    Admitted                      Description of Exhibit
  Exh. No.


     17                             Declaration of Rachel Lane


                                    Notice of Subpoenas and Subpoenas to Appear and Testify
     18
                                    at a Hearing or Trial in a Civil Action

                                    Email Correspondence with counsel for United States re
     19                             Preliminary-Injunction Hearing and Cross-Examination of
                                    Abortion-Provider Declarants
                                    Affidavits of Due Diligence Notice of Subpoenas and Sub-
     20                             poenas to Appear and Testify at a Hearing or Trial in a Civil
                                    Action




                                              Respectfully submitted.


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                                              Jeff Tuley, and Mistie Sharp
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                            CERTIFICATE OF SERVICE
    I certify that on October 1, 2021, I served this document through CM/ECF upon all

counsel of record in this case.


                                          /s/ Andrew B. Stephens
                                          Andrew B. Stephens
                                          Counsel for Intervenors Erick Graham,
                                          Jeff Tuley, and Mistie Sharp




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INJUNCTION HEARING EXHIBITS                                                   Page 4 of 4
